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                     EXHIBIT B
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From:                           Laura Menninger
Sent:                           Thursday, July 14, 2016 2:35 PM
To:                             Meredith Schultz
Cc:                             Jeff Pagliuca; Sigrid S. McCawley - Boies, Schiller & Flexner LLP (smccawley@bsfllp.com);
                                'brad@pathtojustice.com' (brad@pathtojustice.com)
Subject:                        Giuffre - Conferral regarding search terms


M eredith–

Iam w ritingtoyou,incom pliancew iththeCourt’sO rder,tonegotiatethesearchterm sforthesearchofourclient’s
electronicdevices.W hileJeffraisedm any oftheseissuesorally w ithBrad lastw eek,Iam includingthem inw rittenform
sothattherecanbenodisputeaboutourposition.

Idoobjecttothevastnum berofyour368 searchterm s.M ostarenottied toany R equestforP roductionservedonM s.
M axw ell,northeCourt’sO rderslim itingthoserequests.

T erram ar–
S earchterm 49 is“ T erram ar.” W hilew earesearchingourclient’sterram arem ailaddressforotherw iseresponsive
docum ents,thissearchterm w ould pullupthousandsofdocum entsrelated toherw orkforthatorganizationw hichare
(a)non-responsiveand(b)irrelevanttothisaction.W ew illnotagreetothisstandalonesearchterm .

W itnessN am es
W ithregardtothesearchterm snum bered 124-341,insofarasIcantell,you havesim ply brokenapartthefirstand last
nam esofevery w itnessincluded w ithinyourR ule26 disclosures.How ever,you neversubm itted aR FP seekingall
com m unicationsbetw eenourclientand yourw itnesses.T herearesom eR FP sw hichidentify individualw itnessesw hose
com m unicationsw ithourclientyou sought(e.g.,1 – Epstein,2,-P laintif                               ,Dubins,
                                           and Iw illincludethosenam esw ithinoursearches.

Astoothernam esincluded onthelist,m any areincredibly com m onnam es
w hichyou areaskingtosearchasstandaloneterm s,i.e.,divorced from theaccom panyingsurnam esorfirstnam es.You
haveincludedthenam e“ m ax*” w ellaw arethatourclient’ssurnam e,and thatofallofherpaternalfam ily m em bers,
w illbeginw iththosethreeletterstogether.Yoursearchterm sthusarelikely toyield every singleem ailsentorreceived
by ourclient,orherfam ily m em bers,orany otherdocum entinherpossessionw ithherow nnam eonthedocum entor
inthem etadata,inotherw ordshundredsofthousandsofnon-responsivedocum ents.Yoursearchterm sinclude“
and thusarelikely toincludeevery billthatourclienthasreceivedorsentordiscussed.Yoursearchterm sinclude
        w hothecourthasalready ruledm aintainsanattorney-clientrelationshipw ithourclient(and totheextent
othersarecopiedonhisem ails,thosew ould becaptured by searchesfortheotherpeople’snam es).
                                thoughheisnotonany w itnesslistorinany R FP .

Insum ,Iw illnotagreetothesearchterm sregardingw itnessnam esnum bered124-341 unlessyou (a)providem ew ith
anactualR FP tow hichthey eachrelate,and (b)m akesom eefforttom atchthem toactualpeoplew hohavesom e
relationshiptothiscase(likefirstnam e/3 lastnam eorsom epartsthereof).

L aw yerN am es
W hatisyourbasisforsearchterm snum bered366-368:M cCaw ley,S chultzand Boies? L ikew isetotheextentM r.
Edw ardsand Cassellarealsoincluded inthew itnesslist,w hatisyourbasisforsearchingfordocum entsreferencing
them ? T hesesearchterm sseem ed designed topullprivileged attorney-clientcom m unicationsand donotcorrespond to
any R FP .W ew illnotagreetotheseterm s.

                                                          1
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Com m onW ords
You haveincludedanum berofw ordsthatrelatetocom m onitem sand placenam es.P leaseexplainw hichR FP allow s
forasearchofthefollow ingterm s:

50 – S outhernDistrict(w hichw illpullupevery attorney-clientcom m unicationthatreferstoourcaseand includesany
pleading)
51 – P alm Beach(aplaceourclientlived form any years)
64 – N ew M exico
66-72 – U S VIby variousnam es
113 – hospital
114 – 116 – hotel,suite,villa(every singletravelrecord relatedtoourclient’stravelw hichtheCourthasnotordered)
119 – 120 – P aris,France
121 – 122 – Zoro,R anch
360 – Bed
361 – Bath
365 -L ingerie

O therW ords
M any otherw ordshavenorelationshiptothiscase.P leaseadvisem easto(a)w hichR FP they correspond toand (b)
yourgoodfaithbasisforseekingthesesearchterm sinrelationtoany suchR FP :

93 – Abernathy
94 – Brillo
355 – Guggenheim
358 -Gerbil

Conferral
Althoughm any ofyourothersearchterm sareatrem endousstretch,Icanagreetothem intheinterestofgettingthe
searchdoneonatim ely basis.Accordingtoourforensicexpert,runningasearchonM s.M axw ell’sdevicesofall368
term sw illtakem orethanaw eek.Iam availableby telephonetoday andtom orrow todiscusstheissuesraised herein.If
Idonothearfrom you,Iw illpresum ethatyou areinagreem enttotherem ainderoftheterm sbeingrunonthedevices.
T hatshould allow aproductionofdocum entsintim eforM s.M axw ell’scontinued depositionnextw eek.

Iam intentionally nottakingapositionregardingtheotherdem andsyou provided inyourletterofJune30 atpages1-2.
T hesearchesw illbeconducted inaccordancew ithstandard practicesintheindustry andtheCourtorderedusto
negotiatesearchterm sonly.

-Laura


                   L auraA .M enninger
                   Haddon,M organand Forem an,P .C.
                   150 East10thA venue
                   Denver,Colorado80203
                   M ain303.831.7364 FX 303.832.2628
                   lm enninger@ hm flaw .com
                   w w w .hm flaw .com

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                                                       2
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recipient,orapersonresponsiblefordeliveringittotheintended recipient,you arehereby notifiedthatyou
m ustnotread thistransm issionand thatany disclosure,copying,printing,distributionoruseofany ofthe
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                                                      3
